     Case 2:21-cv-00650-ECM-SMD Document 36 Filed 08/01/22 Page 1 of 5




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

 STEVEN CLAYTON            )
 THOMASON,                 )
                           )
      Plaintiff,           )
                                                   2:21-cv-00650-ECM-SMD
 v.                        )
                           )
 DEUTSCHE BANK NATIONAL    )
 TRUST COMPANY, AS         )
 TRUSTEE FOR HOME EQUITY )
 MORTGAGE LOAN ASSET-      )
 BACKED TRUST SERIES INABS )
 2006-A, HOME EQUITY       )
 MORTGAGE LOAN ASSET-      )
 BACKED CERTIFICATES       )
 SERIES INABS 2006-A,      )
                           )
      Defendant.           )

   TRUSTEE’S MOTION TO ENJOIN STATE COURT PROCEEDINGS
      Deutsche Bank National Trust Company, As Trustee For Home Equity

Mortgage Loan Asset-Backed Trust Series INABS 2006-A, Home Equity Mortgage

Loan Asset-Backed Certificates Series INABS 2006-A (the “Trustee”) moves to

enjoin Steven Clayton Thomason (“Thomason”) from proceeding in the removed

state court action. In support of this motion, the Trustee states as follows:

      1.     Although the Trustee does not oppose Thomason’s voluntary dismissal,

it does oppose Thomason using the dismissal to revive the removed state court

action. Thomason’s basis for voluntarily dismissing this action is that he filed an


                                           1
      Case 2:21-cv-00650-ECM-SMD Document 36 Filed 08/01/22 Page 2 of 5




amended complaint—the one this Court did not allow him to file—in the state court

action (CV-2021-000589) that was removed to this Court and constitutes the instant

matter.

       2.      Not only does Thomason’s amended complaint run afoul of this Court’s

order denying his amendment, it also violates §1446, which provides that “the State

court shall proceed no further unless and until the case is remanded.” 28 U.S.C.

§ 1446(d) (emphasis added).

       3.      The state court lost jurisdiction once the Trustee removed it to this

Court. Roman Catholic Archdiocese of San Juan v. Feliciano, 140 S. Ct. 696, 700

(2020) (quoting Kern v. Huidekoper, 103 U. S. 485, 493 (1881)); Maseda v. Honda

Motor Co., Ltd., 861 F.2d 1248, 1254 (11th Cir. 1988) (“after removal, the

jurisdiction of the state court absolutely ceases and the state court has a duty not to

proceed any further in the case.”).

       4.      In instances like this, this Court is authorized to enjoin1 the state court

proceedings. E.g., Maseda, 861 F.2d at 1255 (11th Cir. 1988) (“Several court

decisions also have recognized the power of federal courts to enjoin state courts from

proceeding in a removed case.”); Faye v. High's of Balt., 541 F. Supp. 2d 752, 759




1
  This Court’s inherent authority to enjoin Thomason and the state court is from the All Writs Act,
which states that a federal court “may issue all writs necessary or appropriate in aid of their
respective jurisdictions and agreeable to the usages and principles of law.” 28 U.S.C. § 1651.

                                                2
     Case 2:21-cv-00650-ECM-SMD Document 36 Filed 08/01/22 Page 3 of 5




(D. Md. 2008) (collecting cases); Vigil v. Mora Indep. Sch., 841 F. Supp. 2d 1238,

1241 (D.N.M. 2012) (“According to § 1446(d), the All Writs Act, and the Anti-

Injunction Act, this Court has express Congressional authorization to enjoin such

state court proceedings in order to aid in its jurisdiction.”); see Erkins v. Am.

Bankers Ins. Co., 866 F. Supp. 1373, 1375 (N.D. Ala. 1994) (“[S]hould the parties

or the state court attempt to proceed further in that court while the plaintiffs’ motion

to remand is pending in this court, there is no question whatsoever that this court

would be empowered and authorized to enjoin those efforts.”).

      5.      The Trustee requests that this Court enjoin Thomason from proceeding

in the removed state court action to stop Thomason’s “attempt to subvert the

purposes of the removal statute[.]” Frith v. Blazon-Flexible Flyer, Inc., 512 F.2d

899, 901 (5th Cir. 1975). Although Thomason voluntarily dismissed this action, this

Court retains its inherent authority to enjoin Thomason from proceeding in the state

court action that the Trustee removed. See Absolute Activist Value Master Fund Ltd.

v. Devine, 998 F.3d 1258, 1269 (11th Cir. 2021), cert. denied, 142 S. Ct. 1413, 212

L. Ed. 2d 402 (2022). See generally Cooter & Gell v. Hartmarx Corp., 496 U.S. 384,

398 (1990).

      6.      Because this case was removed, this Court has exclusive jurisdiction

over this action, and Thomason may not proceed in state court because this case was

never remanded. Thomason chose to dismiss this action. This Court should not allow

                                           3
        Case 2:21-cv-00650-ECM-SMD Document 36 Filed 08/01/22 Page 4 of 5




him to dismiss this action just to revive the removed state court action. This action

should remain dismissed.

        WHEREFORE, the Trustee requests this Court enter an order enjoining

Thomason from proceeding in Case No. CV-2021-000589.00 (Cir. Ct. Montgomery,

Ala.)

                                       /s/ Joseph V. Ronderos
                                       T. Dylan Reeves
                                       Joseph V. Ronderos
                                       Attorney For DEUTSCHE BANK
                                       NATIONAL TRUST COMPANY, as
                                       Trustee for HOME EQUITY MORTGAGE
                                       LOAN ASSET-BACKED TRUST Series
                                       INABS 2006-A, HOME EQUITY
                                       MORTGAGE LOAN ASSET-BACKED
                                       CERTIFICATES Series INABS 2006-A


OF COUNSEL:
McGlinchey Stafford
505 North 20th Street, Suite 800
Birmingham, AL 35203
(205) 725-6400 (telephone)
(205) 623-0810 (facsimile)
dreeves@mcglinchey.com
jronderos@mcglinchey.com




                                         4
     Case 2:21-cv-00650-ECM-SMD Document 36 Filed 08/01/22 Page 5 of 5




                         CERTIFICATE OF SERVICE
       I hereby certify that on August 1, 2022, I served via U.S. Mail and filed the
foregoing with the Clerk of the Court using the ECF system, and will send
notification of such filing to the following:

Steven Clayton Thomason
901 Seibles Road
Montgomery, AL 36116

                                      /s/ Joseph V. Ronderos
                                      OF COUNSEL




                                         5
